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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 S.C.G., a minor child, through next     :
 friend Jamanic Reaves; JAMANIC          :
 REAVES, as next friend to S.C.G.;       :
 and K.L.P., on behalf of themselves     :
 and all others similarly situated,      :
                                         :
       Plaintiffs,                       :
                                         :
 v.                                      :         CIVIL ACTION NO.
                                         :         1:22-cv-01324-LMM
                                         :
 CANDICE BROCE, in her official          :
 capacity as Commissioner of the         :
 Georgia Department of Human             :
 Services,                               :
                                         :
       Defendant.                        :

                                       ORDER

      This case comes before the Court on Defendant’s motion to dismiss the

claims asserted against her, Dkt. No. [7]; Defendant’s motion to stay pretrial

deadlines and discovery, Dkt. No. [8]; and Plaintiffs’ amended complaint, Dkt.

No. [11].

      A party may amend his pleading once as a matter of course within 21 days

of the service of a motion filed under Rule 12(b) of the Federal Rules of Civil

Procedure. Fed. R. Civ. P. 15(a)(1)(B). Plaintiffs filed the amended complaint on
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June 21, 2022, which was within that time period.1 Therefore, the Court finds the

amended complaint to have been filed as a matter of right.

      Because the motion to dismiss seeks to dismiss a complaint that has been

superseded, the motion to dismiss, Dkt. No. [7], is DENIED AS MOOT. The

motion to stay pretrial deadlines and discovery, Dkt. No. [8], is GRANTED IN

PART, such that the stay of discovery shall remain in place for the 14 days

following the entry of this Order. Defendant shall have 14 days to file a motion to

dismiss the amended complaint should she find it appropriate to do so, and she

may also file a renewed motion to stay pretrial deadlines and discovery at that

time. In doing so, she must indicate whether Plaintiffs consent to the motion.

      IT IS SO ORDERED this 22nd day of June, 2022.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge




      1     June 21 was the first day the Court was open following the
Juneteenth holiday weekend.

                                        2
